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                  IN THE UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                          FORT MYERS DIVISION

JEAN HEDGES,              :
                          :
    Plaintiff,            :
                          :                  CASE NO. 2:23:cv-15-SPC-KCD
v.                        :
                          :
USAA CASUALTY INSURANCE   :
COMPANY,                  :
                          :
    Defendant.            :
__________________________:

                          NOTICE OF SETTLEMENT

      Plaintiff, JEAN HEDGES, in accordance with Local Rule 3.09(a), hereby

provides immediate notice of the parties’ resolution of this action.

      The parties are currently finalizing the agreement.        Once the written

agreement is finalized, the parties will notify the Court. Plaintiff is also

attempting to resolve the claim of lien. Once resolved, Plaintiff will notify the

court or otherwise file an appropriate motion to place the matter before the

Court.

                         CERTIFICATE OF SERVICE
         PLAINTIFF’S COUNSEL CERTIFIES that on April 3, 2024, a true and
correct copy of this notice was filed electronically with the Clerk of Court using
CM/ECF, so that notice will be sent to all counsel of record.

                                             /s/ Anthony D. Martino
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